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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

IN RE:
SIAMAK LOGHMANI                                                    BCN #: 18-10781-KHK
Debtor                                                             Chapter: 13
Address: 4801 Christie Jane Ln
Fairfax, VA 22030
Last four digits of Social Security No.(s): XXX-XX-2986

                            NOTICE OF MOTION AND HEARING

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.

        If you do not wish the Court to grant the relief sought in this motion, or if you want the
Court to consider your views on this motion, then within fourteen (14) days from the date of
service of this motion, you must file a written response explaining your position with the Court
at the following address: Clerk of Court, United States Bankruptcy Court, 200 South Washington
Street, Alexandria, VA 22314, and serve a copy on the Movant. Unless a written response is filed
and served within this fourteen day period, the Court may deem any opposition waived, treat the
motion as conceded, and issue an Order granting the requested relief without further notice or
hearing.

       If you mail your response to the Court for filing, you must mail it early enough so the
Court will receive it on or before the expiration of the fourteen day period.

      You may attend the preliminary hearing scheduled to be held on: June 27, 2018 at 9:30
AM in Courtroom II, United States Bankruptcy Court, 200 South Washington Street, Alexandria,
VA 22314.

       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an Order granting the requested relief.




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SHAPIRO & BROWN, LLP                                        Dated: May 29, 2018
ATTORNEYS FOR THE MOVANT

/s/ Mary F. Balthasar Lake
BY: Gregory N. Britto, Esquire VSB #23476
William M. Savage, Esquire VSB #26155
Malcolm B. Savage, III, Esquire VSB #91050
Thomas J. Gartner, Esquire VSB #79340
Mary F. Balthasar Lake, Esquire VSB #34899
Leonard C. Tengco, Esquire VSB #76395
SHAPIRO & BROWN, LLP
501 Independence Parkway, Suite 203
Chesapeake, Virginia 23320
(703) 449-5800
VABECF@logs.com


                                  CERTIFICATE OF SERVICE


        I certify that I have this 29th day of May, 2018, electronically transmitted and/or mailed
by first class mail, postage pre-paid, a true copy of the foregoing Notice of Motion to the
following:

Nathan A Fisher
Fisher-Sandler, LLC
3977 Chain Bridge Road, #2
Fairfax, VA 22030

Thomas P. Gorman
300 N. Washington St. Ste. 400
Alexandria, VA 22314

Siamak Loghmani
4801 Christie Jane Ln
Fairfax, VA 22030


/s/ Mary F. Balthasar Lake
Gregory N. Britto, Esquire VSB #23476
William M. Savage, Esquire VSB #26155
Malcolm B. Savage, III, Esquire VSB #91050
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                                  United States Bankruptcy Court
                                   Eastern District of Virginia
                                       Alexandria Division

In Re:                                              BCN#: 18-10781-KHK
SIAMAK LOGHMANI                                     Chapter: 13
       Debtor
DEUTSCHE BANK TRUST COMPANY
AMERICAS, AS TRUSTEE FOR
RESIDENTIAL ACCREDIT LOANS,                         Motion for Order Granting Relief from
INC., MORTGAGE ASSET-BACKED                         Automatic Stay under 11 USC §362
PASS-THROUGH CERTIFICATES,
SERIES 2006-QO6
       Movant/Secured Creditor,
v.
Siamak Loghmani
       Debtor
and
Thomas P. Gorman
       Trustee
       Respondents

       DEUTSCHE BANK TRUST COMPANY AMERICAS, AS TRUSTEE FOR

RESIDENTIAL ACCREDIT LOANS, INC., MORTGAGE ASSET-BACKED PASS-

THROUGH CERTIFICATES, SERIES 2006-QO6, and/or present noteholder, (hereinafter “the

Movant”), alleges as follows:

       1.        That the bankruptcy court has jurisdiction over this contested matter pursuant to

28 U.S.C. § 157 and § 1334 and 11 U.S.C. § 362; Federal Rule of Bankruptcy Procedure 9014;

and Local Bankruptcy Rule 4001(a)-1.

       2.        That the above named Debtor filed a Chapter 13 Petition in Bankruptcy with this

Court on March 6, 2018.

       3.        That Thomas P. Gorman has been appointed by this Court as the Chapter 13

Trustee in this instant Bankruptcy proceeding.

       4.        That the subject Deed of Trust secures a parcel of real property (hereinafter “the

Property”) with the address of 4801 Christie Jane Ln, Fairfax, VA 22030 and more particularly


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described in the Deed of Trust dated May 25, 2006 and recorded as Deed Book 18598, Page

1969 among the land records of the said city/county, as:


        LOT 74, HEATHERBROOK, AS THE SAME IS DULY DEDICATED,
        PLATTED AND RECORDED IN DEED BOOK 13364, PAGE 1020, AMONG
        THE                                                  LAND
        RECORDS ON FAIRFAX COUNTY, VIRGINIA.

        5.       That the Movant is informed and believes, and, based upon such information and

belief, alleges that title to the Property is currently vested in the name of the Debtor.

        6.       That the Debtor is in default with regard to payments which have become due

under the terms of the Note and Deed of Trust since the filing of the Chapter 13 petition.

        As of May 22, 2018, the Debtor is due for:
        o        2 post-petition monthly payments from April 2018 through May 2018 of
                 $4,169.70 each which were to be paid directly to Movant;
        o        Bankruptcy Fees of                                           $850.00
        o        Bankruptcy Costs of                                          $181.00
        o        Suspense Balance of                                       -$3,800.00


        7.       A Proof of Claim for pre-petition arrears was filed with this Court on Movant’s

behalf on May 11, 2018, in the amount of $246,621.80.

        8.       Attached are redacted copies of any documents that support the claim, such as

Promissory Notes, purchase order, invoices, itemized statements of running accounts, contracts,

judgments, mortgages, and security agreements in support of right to seek a lift of the automatic

stay and foreclose if necessary.

        9.       Movant has elected to initiate foreclosure proceedings on the Property with

respect to the Deed of Trust, but is prevented by the Automatic Stay from going forward with

these proceedings.

        10.      That the Movant is informed and believes, and, based upon such information and

belief, alleges that the Debtor has little or no equity in the property.
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       11.       That continuation of the automatic stay pursuant to 11 U.S.C. § 362(a) will work

real and irreparable harm and deprive the Movant of the adequate protection to which it is

entitled under 11 U.S.C. § 362.

       12.       That the Movant has requested that the Court hear this matter on June 27, 2018 at

9:30 AM.

       WHEREFORE, Movant prays for an order granting relief from the Automatic Stay in

order to pursue its remedies under the terms of its Note and Deed of Trust, that the fourteen (14)

day waiting period imposed by F.R.B.P. 4001(a)(3) be waived, for its attorneys fees’ and costs

expended, and for such other and further relief as the Court and equity deem appropriate.

SHAPIRO & BROWN, LLP                                         Dated: May 29, 2018
ATTORNEYS FOR THE MOVANT




/s/ Mary F. Balthasar Lake
BY: Gregory N. Britto, Esquire
VSB #23476
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                                      Certificate of Service



        I certify that I have this 29th day of May, 2018, electronically transmitted and/or mailed
by first class mail, true copies of the Motion for Relief from the Automatic Stay and Notice of
Motion and Hearing to each party required to receive notice.

Nathan A Fisher
Fisher-Sandler, LLC
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Fairfax, VA 22030

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